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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH CAROLINA
                              FLORENCE DIVISION

Anthony A. Gaetano,                        )      4:11-cv-03430-TLW
                                           )
                     Plaintiff             )
                                           )
v.                                         )
                                           )
Portfolio Recovery Associates,             )
LLC,                                       )
                                           )
                     Defendant.            )


            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COME NOW Plaintiff Anthony A. Gaetano (“Plaintiff”) and Defendant Portfolio

Recovery Associates, LLC (“Defendant”) pursuant to Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure, and stipulate that all claims herein against Defendant are dismissed

with prejudice, with each party to bear its own costs.

November 16, 2012                          Respectfully submitted,


                                           /s/ Penny Hays Cauley
                                           Penny Hays Cauley, Fed. ID No. 10323
                                           Hays Cauley, P.C.
                                           549 West Evans Street, Suite E
                                           Florence, SC 29501
                                           (843) 665-1717
                                           (843) 665-1718 Facsimile
                                           phc917@hayscauley.com
                                           Attorney for Plaintiff

                                           s/ Chad V. Echols
                                           Chad V. Echols, Fed ID No. 9810
                                           The Echols Firm, LLC
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                               P.O. Box 12645
                               Rock Hill, SC 29731
                               (803) 329-8970
                               chad.echols@theecholsfirm.com
                               Attorney for Defendant
